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      ORDERED in the Southern District of Florida on October 5, 2017.




                                                    Laurel M. Isicoff
                                                    Chief United States Bankruptcy Judge




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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         www.flsb.uscourts.gov

      IN THE MATTER OF:                                    CASE NO. 17-17272-LMI
      EDUARO ANTONIO RAMIREZ                               CHAPTER 13

             Debtors,
      ________________________________/




          ORDER GRANTING MOTION TO VALUE AND DETERMINE SECURED
      STATUS OF LIEN ON REAL PROPERTY HELD BY NEW WORLD CONDOMINIUM
                 APARTMENTS CONDOMINIUM ASSOCIATION. DE #26

             THIS CAUSE came to be heard on October 3, 2017, on the Debtors’ Motion to Value and

      Determine Secured Status of Lien on Real Property held by New World Condominium Apartments

      Condominium Association, Inc., (D.E. #26; the “Motion”). Based upon the Debtors’ assertions made in
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support of the Motion, upon having considered the record in this case, no opposition being heard and

being duly advised in the premises, the Court FINDS as follows:

       A. The value of Debtors’ real property (the “Real Property”) located 395 NW 177 Street, Unit

            139, Miami Gardens, FL 33169, more particularly described as:

LEGAL DESCRIPTION: UNIT NO. 139, OF THE NEW WORLD CONDOMINIUM APARTMENTS,
A CONDOMINIUM, ACCORDING TO THE DECLARATION OF CONDOMINIUM THEREOF, AS
RECORDED IN OFFFICIAL RECORDS BOOK 17301, PAGE 1661, OF THE PUBLIC RECORDS OF
                        MIAMI-DADE COUNTY, FLORIDA.


                is $46,000.00 at the time of filing of this case.

       B.      The total of all claims secured by liens on the Real Property senior to the lien of NEW

               WORLD CONDOMINIUM APARTMENTS CONDOMINIUM ASSOCIATION, INC.

               (the “Association”) is $154,624.00.

       C.      The equity remaining in the real property after payment of all claims secured by liens

               senior to the lien of Association is $0.00 and Association has a secured interest in the

               Real Property in such amount.

       Consequently, it is ORDERED as follows:

       1.      The motion is GRANTED.

       2.      Association has an allowed secured claim of $0.00.

       3.      Because Association’s secured interest in the Real Property is $0, Association’s

               Assessment Lien Rights prior to the filing on the Debtor’s bankruptcy petition recorded

               on October 5, 2016, at Book 30256, Page 3409, in the official records of Miami-Dade

               County, Florida pursuant to certain Declaration for New World Condominium

               Apartments Condominium Association, Inc. of the official records of Miami-Dade

               County, Florida shall be deemed void and shall be extinguished automatically, without

               further order of the Court, upon entry of the debtor’s discharge in this chapter 13 case. If

               this case is converted to a case under any other chapter or if the chapter 13 case is

               dismissed, Association’s Assessment Lien Rights will no longer be considered void and
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                shall be restored as a lien on the Real Property.

       4.       Association has not filed a proof of claim. The trustee shall not disburse any payments to

                Association unless a proof of claim is timely filed. In the event a proof of claim is timely

                filed, it shall be classified as a secured claim in the amount stated in paragraph 2, above,

                and as a general unsecured claim in any amount in excess of such, regardless of the

                original classification in the proof of claim as filed.

       5.       The Real Property may not be sold or refinanced without proper notice and further order

                of the Court.

       6.       The lien is not enforceable in personam against the Debtors. However, the lien remains on

                the property and is enforceable against subsequent owners.

       7.       Notwithstanding the foregoing, this Order is not recordable or enforceable until the

                debtor receives a discharge in this chapter 13 case.

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Submitted By:

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Attorney for debtor is directed to serve a conformed copy of this Order on all interested parties
immediately upon receipt hereof and to file a certificate of service.
